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 5   Attorney for Defendant, JORGE MARISCAL

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 7

 8                                  UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. 1:15-cr-00169-DAD-BAM
12                     Plaintiff,                     REVISED STIPULATION TO CONTINUE
                                                      SENTENCING HEARING TO
13          v.                                        JUNE 19, 2017; ORDER THEREON
14   JORGE MARISCAL,
15                     Defendant.
16

17          IT IS HEREBY STIPULATED by and between the parties hereto, and through their

18   respective attorneys of record herein, that the Sentencing Hearing in the above captioned matter

19   set for May 30, 2017, be continued to June 19, 2017, at 10:00 a.m.

20          The Sentencing Hearing was originally scheduled for May 30, 2017. The Court moved it

21   to May 31, 2017, to accommodate their schedule. Defense counsel scheduled another court

22   appearance on May 30th. The Court moved Mr. Mariscal’s Sentencing Hearing back to May 30,

23   2017, defense counsel now has a conflict on that date.

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 1          The parties agree that the delay resulting from the continuance shall be excluded in the

 2   interests of justice, including but not limited to, the need for the period of time set forth herein for

 3   further defense preparation pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B).

 4   Dated: May 5, 2017                                     /s/ Carol Ann Moses
                                                            CAROL ANN MOSES
 5
                                                            Attorney for Defendant,
 6                                                          JORGE MARISCAL

 7   Dated: May 5, 2017                                     PHILLIP A. TALBERT
                                                            United States Attorney
 8
                                                            /s/ Kimberly A. Sanchez
 9
                                                            KIMBERLY A. SANCHEZ
10                                                          Assistant United States Attorney

11

12                                                  ORDER

13          The court has reviewed and considered the stipulation of the parties to continue the

14   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

15   defendant currently scheduled for May 30, 2017, is continued until June 19, 2017, at 10:00 a.m.

16   in Courtroom 5 before District Judge Dale A. Drozd.

17   IT IS SO ORDERED.
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        Dated:     May 5, 2017
19                                                       UNITED STATES DISTRICT JUDGE

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